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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
                                           ***


UNITED STATES OF AMERICA,

                 Plaintiff,                              02:07-CR-00080-CRW-PAL

v.
                                                                  ORDER
MICHAEL JENKINS,

                Defendant.

               Defendant Michael Jenkins filed this 28 U.S.C. section 2255 motion on January

27, 2012, to set aside the judgment of conviction of conspiracy to commit wire fraud entered on

December 13, 2010 pursuant to his July 28 plea of guilty. He contends his court-appointed

lawyer Margaret M. Stanish was ineffective in representing him before, during, and after he

pleaded guilty. He contends she should have been aware he was not competent to plead guilty by

reason of a concussion he sustained in a vehicle collision on June 29, 2010, about twenty-eight

days before the court accepted his counseled guilty plea on July 28, 2010. He adds that Stanish

did not act promptly and effectively to ask the court to set aside the guilty plea before the

sentencing scheduled to be held on December 7.

               On December 20, 2011, the United States Court of Appeals for the Ninth Circuit

affirmed the district court’s denial on December 7 of his motion to withdraw his guilty plea and

dismissed his appeal pursuant to his written appeal waiver. But the Court of Appeals did not

decide his claims raised during the appeal that his attorney’s performance was ineffective.


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Instead the court provided that Jenkins might pursue the ineffectiveness claims in collateral

proceedings. So Jenkins filed this section 2255 motion to vacate his guilty plea, CJA counsel

was appointed to represent him, and the undersigned senior U.S. District Judge held a full

evidentiary hearing in Las Vegas on August 15 and by follow-up phone conference on August

31, 2012.

               With the motion now fully submitted, the court makes the following findings of

fact and enters a final decision denying the section 2255 motion to set aside his judgment and

sentence. The evidence firmly establishes that Michael Jenkins was competent to enter his plea

of guilty and that his court-appointed attorney Margaret M. Stanish was in no respect ineffective

in representing him and assisting him before he pleaded guilty pursuant to a written plea

agreement. Neither was she ineffective thereafter when she sought to withdraw, then moved to

have his guilty plea set aside before sentencing.

               I. Competency to Enter Guilty Plea. The evidence the parties presented at the

section 2255 hearing included the entire record in the district court and on appeal, including all

trial and appellate briefs. Witnesses testifying included Michael Jenkins himself, his friend and

employer Jimmy Skefos, attorney Margaret Stanish, and two expert witnesses- - Jenkins’ retained

forensic psychologist Michael J. Perrotti, and the government-retained Robert F. Asarnow,

Ph.D., also a licensed clinical psychologist. Most of the evidence presented by the witnesses

concerned the question whether Michael Jenkins was competent to enter his guilty plea on July

28, 2010. Jenkins argues he was not competent due to what his expert witness Dr. Michael J.

Perotti summarized as “a marked impairment in memory and reasoning,” which he explained in

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his 2011 report and in testimony by phone during the section 2255 hearing.

                 On this first factual issue, the court finds that Michael Jenkins was not in any way

impaired when he entered his guilty plea about twenty-eight days after the motor vehicle

collision. Jenkins spent only four hours in a hospital emergency room, where he received a

neurological exam and CT scan that revealed no evidence of a brain injury. He was then released

and received no further medical treatment before he met with Margaret Stanish in Las Vegas for

several days, then signed a plea agreement and pleaded guilty.

                 The court finds expert witness Robert F. Asarnow was entirely credible in his

assessment of the post-collision hospital and medical record, in analyzing the substance of the

report submitted by Jenkins’ expert, Dr. Perrotti, and in commenting on Perrotti’s opinions.

Asarnow’s live testimony at the hearing was completely consistent with his detailed report dated

August 9, 2012, and his demeanor was excellent, especially when responding to questions during

cross-examination. Asarnow has a more impressive resume and greater qualifications to testify

than Perrotti.

                 The court gives little weight to the expert witness report and testimony of Dr.

Michael J. Perrotti. He speculated about and exaggerated Jenkins’ post-concussion symptoms

and his mental condition when he entered his guilty plea. Perrotti never met in person with

Jenkins. Perrotti’s diagnosis ignored many findings from the June 29, 2010 hospital records that

are more credibly analyzed and explained in Robert F. Asarnow’s written report and testimony

                 The court finds Michael Jenkins and his friend Jimmy Skefos also greatly

exaggerated the effects on Jenkins of the vehicle collision and the resulting discomfort and

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claimed memory loss. The court does not find credible, reasonable, nor true Jenkins’ testimony

that he recalls nothing of the several days when he met with Attorney Stanish and then spent a

half day at the U.S. Courthouse in Las Vegas to enter his guilty plea. Noteworthy is Jenkins’

testimony that he remembered nothing about those days, yet he somehow remembered having

headaches then and now remembers he told Ms. Stanish about the collision before he pleaded

guilty.

               Margaret Stanish herself was entirely credible as a witness; her testimony was

consistent with her notes made while representing Jenkins and with her affidavit filed July 11,

2012. Cross-examination at the hearing did not weaken her credible testimony that Jenkins was

competent to discuss and understand his options as trial approached, when Jenkins met with her

for many hours on July 23, 24, 25, 26, and 27, then read and signed his plea agreement, and then

entered his plea on July 28, following Jenkins’ detailed colloquy with the court. The next day

Stanish and Jenkins met with the Government’s case agent for a debriefing. Stanish, not Jenkins,

gave believable testimony about Jenkins’ state of mind during those days in Las Vegas in July of

2010.

               The court finds once again, as during the plea proceeding, that Michael Jenkins

was fully mentally competent to read and sign his plea agreement and then to enter his counseled

guilty plea on July 28, 2012.

               II. Effective Assistance of Counsel. Jenkins claims his court-appointed attorney

Margaret M. Stanish failed to provide him effective assistance in connection with his guilty plea

and subsequent attempt two months later to withdraw his plea. The court wholeheartedly

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disagrees.

               To establish ineffective assistance of counsel, a movant must show counsel’s

performance was professionally unreasonable and that, but for the deficient performance, the

outcome of the proceeding would have been different. Strickland v. Washington, 466 U.S. 668,

694 (1984) (ineffective assistance of counsel standard). “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id. A court need not address

both components of the test if a petitioner makes an insufficient showing on one of the prongs.

Id. at 697. The Government has shown Jenkins has no basis for relief on either prong. Jenkins

presented no credible evidence that Margaret Stanish gave inadequate counsel or ineffective

assistance at any time.

               First, because Jenkins was competent and had no basis for challenging his guilty

plea, Stanish would not have succeeded in persuading the court to allow him to proceed to trial.

               Second, in entering his plea Jenkins credibly, competently, and truthfully testified

as follows:

      The Court: And do you feel that you are in a good condition mentally and physically to
                 make an important decision concerning the matter of whether to plead guilty to
                 this one charge?

      Defendant: Yes, your Honor, I do.

      The Court: I find that the Defendant is fully competent to enter into a plea at this time. I
                 want to have the plea agreement that the Defendant has with the Government
                 summarized at this time but in order to make sure that the Defendant
                 understands it fully [sic]. Did you read ever [sic] word of the memorandum
                 before signing it, sir?

      Defendant: Every word more than once.

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       The Court: All right. And was there anything in it that you did not understand?

       Defendant: No, sir. I understood everything.

       The Court: I also want to make sure you’re satisfied with the attorney that has been
                  advising you on this matter. Did you consult with Ms. Stanish before entering
                  into this agreement?

        Defendant: I consulted with her for a long period of time. I am most pleased with her
                  performance. She’s the most excellent attorney.

That Jenkins testimony during the plea colloquy was and is truthful. Stanish properly believed

Jenkins’ answers, thought him competent, and had no reason to doubt his answers then or later.

Every statement in Stanish’s affidavit dated July 11, 2012, and in her testimony during the hearing

is credible, true, and correct.

               Jenkins complains that Stanish did not immediately move for withdrawal of his

guilty plea when he first told her in September about his earlier vehicle collision. But Attorney

Stanish acted on his request only after she carefully considered whether to file the withdrawal

motion. She properly moved to withdraw as Jenkins’ counsel when she believed she would need

to testify about Jenkins’ competency should that become a contested issue.

                Jenkins also complains that Stanish should have presented before sentencing more

evidence concerning his competency to plead guilty. Because it turns out Jenkins was competent

to enter his plea, no different approach to withdrawal of Jenkins’ plea would have made a

difference in the outcome of this criminal case.

               Finally, the court applies the standard in Federal Rule of Criminal Procedure 11

(d)(2)(B): whether defendant Jenkins had a “fair and just reason” to withdraw his guilty plea.


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That “standard is generous and must be applied liberally.” United States v. McTiernan, 546 F.3d

1160, 1167 (9th Cir. 2008); see United States v. Garcia, 401 F.3d 1008, 1011-12 (9th Cir. 2005).

               The court concludes that Michael Jenkins never had and now has no fair and just

reason to withdraw his guilty plea entered on July 28, 2010. He was competent to plead guilty,

and he received excellent, effective, professional advice and assistance from his attorney

Margaret M. Stanish throughout the time she represented him.

               The court denies defendant’s 28 U.S.C. section 2255 motion.

               IT IS SO ORDERED.

               Dated this 5th day of September, 2012.




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